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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


United States of America,                             Criminal No. 12-185 ADM/FLN

             Plaintiff,

      v.                                              ORDER

Rikki Lee Gilow, Jerry Anthony
Harvey, and Eric Michelle Hunter,

             Defendants.
             ________________________________________________

      Based upon the Findings of Fact, Conclusions of Law, and Recommendation by

United States Magistrate Judge Franklin L. Noel dated September 24, 2012, all the files

and records, and no objections having been filed to said Report and Recommendation,

      IT IS HEREBY ORDERED that:

      1. Defendants’ motions to suppress evidence (Docket Nos. 37, 47, and 57) are

DENIED.



DATED: October 9, 2012                         s/Ann D. Montgomery

at Minneapolis, Minnesota                JUDGE ANN D. MONTGOMERY
                                         United States District Court
